Case 2:04-cV-02033-.]P|\/|-de Document 46 Filed 08/09/05 Page 1 of 2 Page|D 89

 

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ERIcsoN GRoUP, INC. , CLEVR;(@[§SDT:YIPH];, T
Plaintiff/Counter-
Defendant,

v. No. 04-2033 Ml/V
MARDI GRAS ZONE|r LLC,r

Defendant/Counter-
Plaintiff.

 

ORDER SETTING TRIAL SCHEDULE

 

A telephone Conference was held in this case on August 8,
2005. Pursuant to the discussion at the conference, the Court

hereby sets the following trial schedule:

Trial: Mondav. ADril 3, 2006, at 9:30 a.m.
Pretrial Conference: Mondav. March 2?, 2006, at 9:00 a.m.

Pretrial Order: Mondav, March 20, 2006. bV 4:30 D.m.

SO ORDERED this 25 day of August, 2005.

_…CLQQ

J N P. MCCALLA
ITF_`.D STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 46 in
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Honorable J on McCalla
US DISTRICT COURT

